Case 3:17-cv-00072-NKM-JCH Document 254-1 Filed 03/06/18 Page 1 of 3 Pageid#: 1633




  KyleChapm an                                                   cœ nK'
                                                                      s OFFI
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  Daly City,CA 94015
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  Febnlaly 27,2018                                                   JULI C. UDL CLERK
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  HonorableJudgeNorm an K.M bon                                         DE,UTY CLERK
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  W estern DistlictofV irginia                                     3 :IW C: OOO'
                                                                               VQ
  P.O.Box 657
  Lynchbtlrg,VA 24505
  and
  1101CourtStreet,SuiteA66
  Lynchbtlrg,VA 24504

  D earH onorable Judge M oon,

          lm ailed you acorrespondence on February 13,2016,regardingm yrequestto represent

  FraternalOrder ofA lt-Knights on a pro se basis. A copy ofsnm e cocespondence was algo

   served ön allparties.Itdoesnotappearthatthe Courthasreceivedthecorrespondence.

  Enclosed is another copy foryour consideration.


   Sincerely,
   Kylechapm an
    ''
         & fmA*w--.
Case 3:17-cv-00072-NKM-JCH Document 254-1 Filed 03/06/18 Page 2 of 3 Pageid#: 1634




                                CERTIFICATE OF SERW CE

        Ihereby certify thaton February27,2018,atrueand correctcopy of:

               February 27,2018,letter from Kyle Chapman to Honorable Judge Norm an K.

               h4oon

         Havebeen forwarded by firstclassU.S.m ailto counselofrecord:

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         Evropa, Heim bach, Parrott, Traditionalist Worker plrl, Schoep, National Socialist
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